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        IN THE UNITED STATES DISTRICT COURT FOR THE

                     WESTERN DISTRICT OF OKLAHOMA


UNITED STATES OF AMERICA,                )
                                         )
                     Plaintiff,          )
                                         )
            vs.                          )      No. CR-24-467-SLP
                                         )
NASIR AHMAD TAWHEDI,                     )
 a/k/a Nasir Ahmad Tawhedi,              )
 a/k/a “@Abu_Omir,”                      )
                                         )
                     Defendant.          )


                     JOINT MOTION FOR SCHEDULING ORDER

      The United States and Defendant jointly move this Court for a

scheduling order to accommodate the anticipated litigation under the

Classified Information Procedures Act (“CIPA”), 18 U.S.C. App. III, § 1 et seq.

      The United States and Craig Hoehns, counsel for Defendant, have

conferred about these proposed deadlines. The extended trial setting and

intermediate deadlines are necessary for the parties to review the

voluminous evidence, litigate CIPA issues, litigate other pretrial matters, and

prepare for trial.

      The United States has produced extensive discovery to the Defendant

as it has become available. To date, the United States has produced six

rounds of discovery containing more than 25,000 pages of documents, and
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voluminous audio and video recordings. Counsel for the United States has

been informed by FBI that the majority of the remaining discovery, including

summary translations of electronic devices, will be completed by the end of

March. 1 Accordingly, the parties respectfully request that the Court enter a

scheduling order reflecting the following schedule:

      1.    June 13, 2025: Deadline for United States’ sealed, ex parte CIPA
            Section 4 filing to the Court.

      2.    July 11, 2025: Deadline for Defendant’s CIPA Section 5(a) Notice
            to the United States and the Court.

      3.    August 15, 2025: Fed. R. Crim. P. 12(b)(3) pretrial motions and
            Fed. R. Crim. P. 12.2 notice deadline and expert witnesses notice
            and report deadline (both parties).

      4.    September 19, 2025: Response deadline to Fed. R. Crim. P.
            12(b)(3) pretrial motions and Fed. R. Crim. P. 12.2 notice.

      5.    September 26, 2025: Daubert motions deadline.

      6.    October 3, 2025: Reply deadline, with leave of Court, to Fed. R.
            Crim. P. 12(b)(3) pretrial motions and Fed. R. Crim. P. 12.2
            notice.

      7.    October 31, 2025: Daubert response deadline.

      8.    November 14, 2025: Daubert reply deadline, with leave of Court.

      9.    December 2025 – January 2026: Hearings on outstanding
            motions (to be determined by the Court).




1 Verbatim translations of any material the United States intends to

introduce will take longer but will be provided prior to jury trial.

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      10.    January 23, 2026: Fed. R. Crim. P. 404(b) notices; motions in
             limine; proposed jury instructions; proposed voir dire; disclosure
             of witness and exhibit lists deadline.

      11.    February 20, 2026: Response deadline to Fed. R. Crim. P. 404(b);
             motions in limine; objections to jury instruction; voir dire; witness
             and exhibit lists.

      12.    March 6, 2026: Reply deadline, with leave of the Court, to Fed. R.
             Crim. P. 404(b); motions in limine; objections to jury instruction;
             voir dire; witness and exhibit lists.

      13.    March 20, 2026: Hearings on motions in limine, Fed. R. Crim. P.
             404(b) notices, and jury instructions, and proposed voir dire.

      14.    April 10, 2026: Jencks Act and Giglio Disclosures.

      15.    April 24, 2026: Pretrial conference.

      16.    May 4, 2026: Jury trial for approximately two weeks.

      The extended trial setting and intermediate deadlines are necessary for

the parties to review the voluminous evidence, litigate CIPA issues, litigate

other pretrial matters, and prepare for trial. The United States and Craig

Hoehns, counsel for Defendant, have conferred and agree to these proposed

deadlines.




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      WHEREFORE, the United States and Defendant respectfully submit

this Joint Motion for Scheduling Order and request that the Court enter a

scheduling order reflecting these proposed dates.

                                          Respectfully submitted,

                                          ROBERT J. TROESTER
                                          United States Attorney

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                      CERTIFICATE OF SERVICE

I hereby certify that on February 11, 2025, I electronically transmitted the
attached document to the Clerk of Court using the ECF System for filing and
transmittal of a Notice of Electronic Filing to the following ECF registrants:
Craig M. Hoehns

                                      s/Matt Dillon
                                      Assistant U.S. Attorney




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